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               UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAHJIT SINGH,                                                )
          Plaintiff,                                         )
                                                             )
                                                             )
       v.                                                    ) Case No.: 2:11-cv-1380-SD
                                                             )
NCO FINANCIAL SYSTEMS, INC.,                                 )
                                                             )
         Defendant                                           )
                                                             )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41.1(b), counsel for all parties hereto stipulate to the dismissal

with prejudice without cost to either party.




       /S/ Ross S. Enders                            /S/ Craig Thor Kimmel
       Ross S. Enders, Esquire                       Craig Thor Kimmel, Esquire
       Attorney ID: 89840                            Attorney ID: 57100
       Attorney for Defendant                        Attorney for the Plaintiff


       Date: September 1, 2011                       Date: September 1, 2011


                                    BY THE COURT:



                                      _________________________
                                                              J.
